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1    Law Offices of Ron Peters
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4
5    Attorney for Defendant
     BOB AN
6
7                                      UNITED STATES DISTRICT COURT
8                                    EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA, )                             CASE NO.: 10-cr-168 JAM
                                )
11                   Plaintiff, )                            WAIVER OF DEFENDANT’S PRESENCE
                                )
12   v.                         )
                                )
13   BOB AN,                    )
                                )
14                   Defendant. )
                                )
15
16                    Pursuant to Fed. R. Crim. P. 43(b)(2), defendant, Bob An, waives his right to appear in
17   person in open court upon the hearing of any motion or other proceeding in this case, including, but not
18   limited to, when the case is set for trial, when a continuance is ordered, and when any other action is taken
19   by the court before or after trial, except upon arraignment, plea, impanelment of jury, and imposition of
20   sentence. Mr. An requests the Court to proceed during every absence of his which the Court may permit
21   pursuant to this waiver; agrees that his interests will be represented at all times by the presence of his
22   attorney, the same as if defendant were personally present; and further agrees to be present in court ready
23   for trial any day and hour the Court may fix in his absence. The defendant acknowledges that he has the
24   right to be present at any and all hearings in this case.
25                    Mr. An further acknowledges that he has been informed of his rights under 18 U.S.C. §§
26   3161-3174 (Speedy Trial Act), and authorizes his attorney to set times and delays under that Act without
27   being present.
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1           The original signed copy of this waiver is preserved by Mr. An’s attorney.
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3    DATE: August 9, 2010                                /s/Bob An
                                                         Bob An
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5
     I agree with and consent to my client's waiver of appearance.
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7
8    DATE: August 9, 2010                                /s/Ron Peters
                                                         RON PETERS
9                                                        Attorney for Defendant
                                                         Bob An
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1    IT IS HEREBY ORDERED
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            1.      That Bob An’s appearance is waived in open court upon the hearing of any motion or other
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     proceeding in this case, including, but not limited to, when the case is set for trial, when a continuance is
4
     ordered, and when any other action is taken by the court before or after trial, except upon arraignment,
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     plea, impanelment of jury, and imposition of sentence.
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7           IT IS SO ORDERED.
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     Date: August 13, 2010                               /s/ John A. Mendez
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11                                                        HONORABLE JOHN A. MENDEZ
                                                          UNITED STATES DISTRICT COURT JUDGE
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